










NUMBER 13-01-052-CV

 

COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI

 ____________________________________________________________________ 



ANDRES TORRES , Appellant, 



v.

 

APPRAISAL DISTRICT, REVIEW BOARD , Appellee. 

____________________________________________________________________ 



On appeal from the 138th District Court

 of Cameron County, Texas.

 ____________________________________________________________________ 



O P I N I O N

 

Before Chief Justice Valdez and Justices Hinojosa and  Yañez

Opinion Per Curiam



 Appellant, ANDRES TORRES , perfected an appeal from a judgment entered by the   138th District Court of Cameron
County, Texas, in cause number 00-01-25-B .  No clerk's record has been filed due to appellant's failure to pay or make
arrangements to pay the clerk's fee for preparing the clerk's record.  

 If the trial court clerk fails to file the clerk's record because the appellant failed to pay or make arrangements to pay the
clerk's fee for preparing the clerk's record, the appellate court may dismiss the appeal for want of prosecution unless the
appellant was entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b). 

 On April 3, 2001 , notice was given to all parties that this appeal was subject to dismissal pursuant to Tex. R. App. P.
37.3(b).  Appellant was given ten days to explain why the cause should not be dismissed. To date, no response has been
received from appellant. 

 The Court, having examined and fully considered the documents on file, appellant's failure to pay or make arrangements to
pay the clerk's fee for preparing the clerk's record,  this Court's notice, and appellant's failure to respond, is of the opinion
that the appeal should be dismissed for want of prosecution.  The appeal is hereby DISMISSED FOR WANT OF
PROSECUTION. 

PER CURIAM 



Do not publish. 

Tex. R. App. P. 47.3. 

Opinion delivered and filed 

this the 3rd day of May, 2001. 






